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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


NANOGRAFIX CORPORATION,

                    Plaintiff,           Case No. 5:19-cv-10624-JEL-EAS

v.                                       Honorable Judge Judith E. Levy
                                         Mag. Judge Elizabeth A. Stafford
POLLARD BANKNOTE LIMITED

                     Defendant.

 Bill C. Panagos (P34068)                 Susan M. Kornfield (P41071)
 Linda D. Kennedy (P64692)                Justin P. Bagdady (P79764)
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 Corp.
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                                 AGREED ORDER

      Plaintiff Nanografix Corporation (“Nanografix”) and Defendant Pollard

Banknote Limited (“Pollard”) (collectively, the “Parties”) hereby submit this

proposed Agreed Order to memorialize the Court’s rulings at the September 30,

2020 Status Conference, as follows:

      1.     With the exception set forth in Paragraph 2 below, all discovery is

stayed until the issuance of the Court’s claim construction decision. The stay shall

expire upon the issuance of the Court’s claim construction decision.

      2.     On or before November 4, 2020, Pollard shall “disclose information

sufficient to show any accused products’ relevant structure and composition” (per

DN 22) for fifty tickets identified in Exhibit A to Nanografix’s August 24, 2020

letter to Pollard selected by Nanografix. Nanografix has agreed to provide its list of

such tickets on or before October 5, 2020.

      3.     The Parties reserve all rights and positions with respect to all discovery

disputes, including their dispute over the sufficiency of such disclosures by Pollard

to date and any future disputes regarding the production of materials pursuant to

Paragraph 2 above.

      4.     For any non-dispositive disputes, including any discovery disputes, a

party shall send an email to the Court’s case manager, with a copy to the other party,




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stating only that “the parties have a [non-dispositive or discovery] dispute(s)” that

one or both parties wish to raise with the Court.


Dated: October 2, 2020                              Respectfully submitted,

/s/ John G. Bisbikis                                /s/   Russell E. Levine, P.C.

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 Attorneys for Plaintiff, Nanografix
 Corp.


SO ORDERED.

Date: October 5, 2020                         s/Judith E. Levy
                                              United States District Judge
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